Case 2:04-cr-20403-.]DB Document 68 Filed 08/16/05 Pagelof5 F’age|D€S'Af

  

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RON REED
Ma[y C. Jermann, FPD
Defense Attorney
200 Jefferson, Suite 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 20, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section Nature of Offense Offense Number
Conc|uded
18 U.S.C. § 922 (g) Fe|on ln Possession of Firearm 12/12/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

Counts 2 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Seo. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/30/1977 August 15, 2005
Deft’s U.S. lVlarsha| No.: 19966-076

Defendant’s |V|ai|ing Address:
2520 Hanwood
l\/lemphis, TN 38108

 

J. DAN|EL BREEN
uNl D sTATEs DlsTRlcT JuDoE

Thr`s document entered on

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W:m R l the docket heetin mm jj AugustJ§_, 2005
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Case No: 2:04-20403-01-B Defendant Name: Ron REED Page 2 of4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 55 Months.

The Court recommends to the Bureau of Prisons:

- 500 Hour Drug Treatment Program.
- P|acement near |Vlemphis, Tennessee.

The defendant is remanded to the custody of the United States Nlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at _ , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/Iarsha|

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Case No.l 2:04-20403-01-B Defendant Name: Ron REED Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial districtwlthout the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted cfa felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04-20403-01-B Defendant Name: Ron REED Page 4 0f4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal |Vlonetary Pena|ties sheet of this judgment

ADDlT|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of
supervised reiease:

1) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

2) Seei< and maintain full-time employment
3) Cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALTiES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00
The Special Assessment shall be due immediately.

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

ISIC COUR - WESERNT DSRTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 68 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

E. Greg Giiluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

